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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                                                   CRIMINAL ACTION

VERSUS                                                                                 NO. 13-243

TRACY RICHARDSON BROWN
SANDRA PARKMAN THOMPSON                                                        SECTION "K"(3)


                                   ORDER AND REASONS

       Before the Court is Defendant, Sandra Thompson's Motion to Dismiss Indictment on

Grounds of Double Jeopardy. (Rec. Doc. 105). The indictment at issue charges Ms. Thompson

with (1) conspiracy to commit health care fraud (18 U.S.C. § 1349); (2) conspiracy to pay and

receive illegal remunerations (18 U.S.C. § 371); (3) five counts of health care fraud (18 U.S.C.

§1347); and (4) five counts of illegal remuneration (42 U.S.C. § 1320a-7b(b)(1)(A) and

(b)(2)(A)). The indictment alleges that from in or around 2005 until in or around 2009,

Thompson conspired to execute and executed a scheme or artifice to defraud Medicare and to

obtain by means of false and fraudulent pretenses, representations, and promises, money owned

by and under the control of Medicare in connection with the delivery of and payment for health

care benefits and services. Thompson is also charged with knowingly and willfully receiving

illegal kickbacks in return for referring Medicare beneficiaries for the furnishing and arranging

for the furnishing of items and services for which payments were made under the Medicare

program. In essence, Thompson sold the Medicare numbers of Medicare beneficiaries to her co-

defendant, Tracy Richardson Brown (Brown) for cash, knowing that these numbers would be

used by Brown and her durable medical equipment company (DME), Psalms 23, LLC (Psalms),

to bill Medicare.
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       The fraudulent scheme allegedly created by Brown and Thompson involved DMEs

distributed by Psalms–including, inter alia, power wheelchairs (PWC), accessories for PWCs

and so-called "arthritis kits." Psalms billed Medicare for providing DMEs, claiming that the

DME in question was medically needed by, and provided to Medicare beneficiaries. The

Government contends, however, that vast majority of this equipment was not medically

necessary and, in many instances, was not provided.

       Thompson was convicted in a similar scheme where the provider of DMEs was an entity

called Lobdale, a DME company operating in the Baton Rouge area. The conspiracy occurred

from February of 2006 to November of 2009. Lobdale payed kickbacks to Thompson. Dr. Jase

was involved in the scheme for allegedly writing unneeded prescriptions as is alleged in the

instant indictment. But none of the other defendants named in the Baton Rouge case are named

in the instant indictment.

       Thompson stands convicted of 13 counts of Health Care Fraud in contravention of 18

U.S.C. § 1347 and one count of Conspiracy to Pay and Receive Illegal Remuneration in violation

of 18 U.S.C. § 371. Thompson served 18 months on those charges and was ordered to pay

$1400 as an assessment and $129,300.00 in restitution.

       The Government filed a "Government Notice of Intent to Use Evidence Pursuant to

Federal Rule of Evidence 404b and Supporting Memorandum" (Doc. 68) in this case seeking to

introduce evidence of the activities in the Lobdale matter at trial in the instant case without

implicating Rule 404(b). It argued that evidence from the Lobdale case is admissible in this

matter as "intrinsic" evidence; the Government indicated that this Lobdale evidence would be

admissible without the rigors of Rule 404(b) because it arose out of the same transaction or


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series of transactions as the charged offense, was inextricably intertwined with the evidence

regarding the charged offense and was necessary to complete the story of the crime at trial.

        In that filing, the Government explained Thompson's actions as follows:

                 Thompson often determined which DME would be prescribed. She made
        referrals for specific DME, whether power wheel chairs or "arthritis kits," based
        upon how large a kickback she would receive from the DME supplier.
        Sometimes, when a DME company was paying the highest kickback for all items,
        a Medicare beneficiary's information would be referred to that company for both a
        power wheelchair and an "arthritis kit." However, kickback amounts fluctuated
        during the time period of the scheme, and at times it was financially beneficial for
        Thompson to "split" the referral of the DME. Thompson submitted a
        beneficiary's name and medicare number to one DME supplier for a power
        wheelchair, and to another DME supplier for "arthritis kit" items. Thompson
        "split" referrals between Psalms and Lobdale a DME company operating in the
        Baton Rouge area. Thompson was convicted in the Middle District of Louisiana
        for her conduct with Lobdale.

(Rec. Doc. 68, Government Notice of Intent to Use Evidence Pursuant to Federal Rule of

Evidence 404b and Supporting Memorandum at 3 of 11.)

        The Government then argued:

                Evidence of "splitting:" between Psalms and other companies such as
        Lobdale is intrinsic to the fraud scheme because it completes the story of the
        crime. It explains that Thompson followed the money, pursuing the highest
        bidder for Medicare beneficiary numbers, rather than what was practical,
        medically necessary, or in the best interest of the Medicare beneficiary.

(Id. at 7 of 11.)


        In the United States' Consolidated Response to Defendant Sandra Parkman Thompson's

Motion In Limine Relating to Federal Rule of Evidence 404(B) and Thompson's Prior

Conviction, and Thompson's Motion to Dismiss (Rec. Doc. 110), the Government further opined

that evidence of the conviction in the Middle District, the underlying conduct of which occurred




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during the time period alleged in the indictment is intrinsic evidence of the crimes charged and

admissible. (Rec. Doc. at 9 of 15). The Government stated:

                 Intrinsic evidence is admissible because it helps the jury "evaluate all the
         circumstances under which the defendant acted." United States v. Royal, 972
         F.2d 642, 647 (5th Cir. 1992). If "both acts are part of a single criminal episode or
         the other acts were necessary preliminaries to the crime charged," these are
         considered intrinsic to the charged crime as well. Id. Such evidence "complete[s]
         the story of the crime by proving the immediate context of events in time and
         place." United States v. Coleman, 78 F.3d 154, 156 (5th Cir. 1996). In this case,
         Thompson shopped her Medicare numbers to the highest bidder–sometimes
         splitting DME between Psalm and Lobdale, other times "double dipping" with
         these same Medicare numbers to sign these beneficiaries up with home health
         care. This conduct is entirely intrinsic to the fraud scheme charged in this
         indictment because it completes the story of the crime and provides context to
         Thompson's conduct. It demonstrates her intent to commit health care fraud,
         showing that she followed the money, pursuing the highest bidder for Medicare
         beneficiary numbers rather than what was practical, medically necessary or in the
         best interest of the Medicare beneficiary whose protected health information she
         sold. Her use of the same beneficiary's Medicare number at both Psalms and
         Lobdale shows that she, and not a doctor, was directing what DME the
         beneficiary should receive. Her sale of Medicare numbers of the same
         beneficiaries to Lobdale and home health companies "complete[s] the story of the
         crime by proving the immediate context of events in time and place." Id.

(Rec. Doc. 110 at Pages 9-10 of 15).1 As a result of the Government's basis for the contention

that the Lobdale evidence is admissible as intrinsic evidence as well as Thompson's counsel's

trial preparation, Thompson filed the instant motion to dismiss based on double jeopardy . The

Court will now turn to the issue of whether double jeopardy applies in this instance.



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           In response to a representation made by Thompson's counsel during a telephonic status conference, the
Government filed a Supplemental Memorandum Addressing Thompson's Motion to Dismiss. (Rec. Doc. 128). In
that document, the Government noted that Thompson's representation to the Court that the Government had
contended that her sale of Medicare numbers to Psalms and Lobdale emerged from a "single criminal episode" in its
attempt to have Lobdale evidence admitted as being "intrinsic" evidence was incorrect. The Government noted that
it was relying on another factor– that this evidence was needed to "complete the story"– rather than the Lobdale
evidence arising "out of a single criminal episode" for purposes of it being intrinsic evidence. The Court recognizes
that distinction and indeed notes that the Government argued in the alternative that the evidence sought to be
introduced is also "extrinsic" and would pass a Rule 404(b) test as to admissibility. Nonetheless, it is the factual
characterization of Thompson's role in the conspiracy that opened the door to this motion.

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Analysis

       The test to determine whether double jeopardy attaches in a conspiracy case is articulated

in United States v. Jones, 733 F.3d 574 (5th Cir. 2013) as follows:

             "In a conspiracy case, the central issue for double jeopardy purposes is
       whether there was one agreement and one conspiracy or more than one agreement
       and more than one conspiracy." El-Mezain, 664 F.3d at 546 (citation omitted).

               To determine whether the alleged conspirators entered into more
               than one agreement, we evaluate five factors: 1) time; 2) persons
               acting as co-conspirators; 3) the statutory offenses charged in the
               indictments; 4) the overt acts charged by the government or any
               other description of the offense charged that indicates the nature
               and scope of the activity that the government sought to punish in
               each case; and 5) places where the events alleged as part of the
               conspiracy took place.

       Delgado, 256 F.3d at 272 (citation omitted). “No one factor ... is determinative;
       rather all five factors must be considered in combination.” Id. (internal quotation
       marks and citations omitted).

Id. at 580-81. In the Jones case, Henry Jones ("Henry") had been charged in three separate cases

with conspiracy and Medicare fraud: the Ngari case, the Jones case, and the McKenzie case.

Henry, who was named in all three cases, was found guilty in the Ngari case, pleaded guilty in

the Jones case and then filed a motion to dismiss in the McKenzie case which motion was denied.

He appealed the district court's denials of his motions to dismiss an indictment on double

jeopardy and multiplicity grounds.

       Factually, in the Ngari case, Henry stood in the analogous shoes of the defendant

Thompson here–a "recruiter" or "marketer". However in the Jones case and the McKenzie case,

he was acting in the shoes of the DME provider. The appellate court in Jones opinion applied the

five part test which the Court will now undertake. After considering all of the factors, only

two–the location of the events and the statutory crimes charged–supported a finding that there

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was a single conspiracy in the Jones case. The timing, the participants, the goals of the

conspirators, and the nature of the conduct the Government was trying to stop, supported the

Jones court's finding that there were two conspiracies.

       The Court will now analyze these same factors in the context of the Lobdale case and the

instant one.



       1.      Time

       The Lobdale conspiracy allegedly occurred between February of 2006 and November of

2009. The Brown conspiracy allegedly occurred between February 2005 to February of 2009.

Thus, from a temporal perspective, there is substantial overlap.



       2.      Co-Conspirators

       The only co-conspirators that are the same in both cases is one doctor–Dr. Anthony Jase

and one "recruiter"–the defendant in question, Ms. Thompson. Dr. Jase is an unindicted co-

conspirator in the Brown case. As stated in Jones:

                The nature of the overlapping co-conspirators' participation is relevant to
       finding a single conspiracy, especially when the co-conspirators are the central
       characters, or the key personnel in both cases. If the central figures of the cases
       are different, or if they serve different functions for purposes of the conspiracies, it
       is less likely that there is a single agreement.

Jones, 733 F.3d at 581-82.

       Jones teaches that the DME provider is considered the "central organizing figure." Ngari,

the DME provider in the Ngari conspiracy was found to be the central organizing figure in that

eponymous case, and Shedrick McKenzie, who was a corporate officer for and operator of the


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DME provider, Solutions, was the central organizing figure in the McKenzie conspiracy. In those

two instances, Henry was a recruiter in the Ngari case and an operator of a corporation in the

McKenzie case.    As such, the Court found that this factor indicted that there were two separate

conspiracies.

       Thus, it appears that the "central organizing figure" in the Lobdale suite was Young Okoro

Anyanwu, the operator of Lobdale Medical Services LLC. In the case at bar, Tracy Richardson

Brown was the operator of Psalms 23 DME, LLC, and as such the "central organizing figure" in

this case. While Thompson had the same recruiter position in both conspiracies, this would not

indicate that the conspiracies were the same.

       However, as noted, the Government in its filings concerning the applicability of Rule

404(b) to evidence in the Lobdale case and its admissibility herein, took the position that in

reality Ms. Thompson was the hub from which the spokes of the conspiracy spread. (See, supra,

at 3). The Government argued that she was directing which DME a beneficiary received and thus

she was running the show for both schemes. Thus, the Government's description of her directive

role in both schemes arguably could demonstrate that there is a single conspiracy–that being hers.

Moreover, in the transcript of the Lobdale trial, the Government argued to the jury:

             Sandra Parkman Thompson was the engine in some ways that drove the
       scheme to defraud. She was the one who actually found these beneficiaries' names
       and numbers.

               Whether she directly solicited them or not, or whether she got the names
       from other people, she brought the names and medicare numbers to Dr. Anthony
       Stephen Jase, watched as he signed, knowing they hadn't been seen, and she also
       was the engine that drove these prescriptions to Baton Rouge, Louisiana to
       Lobdale Medical Supply Company–Services Company, where they took these
       prescriptions, started creating the paperwork, which ultimately resulted in the
       filing of claims. Those are the players in the scheme to defraud.


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(Transcript from United States v. Thompson, Cr. No. 10-101, M.D. La., Doc. 122-4 at 4 of 4).

Based on these arguments, Thompson in essence maintains that this characterization demonstrates

because the Government has made these factual representations, the clear implication is that then

Thompson should be considered the "central organizing figure" and as such, there is only one

conspiracy, implicating her being subjected to double jeopardy in this instance.

        While this argument is compelling in some respects, the Court will follow the dictates of

Jones. The Court finds that the identity of the DME prevails as to who is considered the central

organizing figure. Here there were two distinct DME providers and as such, the Court finds this

factor demonstrates that these were two separate conspiracies.



        3.      The Statutory Offenses Charged in the Indictments

        Clearly, the charges in both the Lobdale and the Brown indictments are practically

identical. In the Lobdale matter, Thompson was convicted on 13 violations of Health Care Fraud

in violation of 18 U.S.C. § 1347 and one count of Conspiracy to Pay and Receive Illegal

Remuneration in violation of 18 U.S.C. § 371. In the Brown case, Ms. Thompson faces charges

of Attempting and Conspiracy to commit health care fraud in violation of 18 U.S.C. 1349, one

count of Conspiracy to Pay and Receive Illegal Remuneration in violation of 18 U.S.C. § 371,

nine counts of Health Care Fraud in violation of 18 U.S.C. § 1347 and § 2; and seven counts of

illegal remuneration in violation of 42 U.S.C. 1320a-7b(b)(1)(A) and 1320a-7b(b)(2)(A). While

the charges here are more expansive than those brought in the Middle District, the overlap is so

substantial, this factor indicates that there is a single conspiracy.




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       4.      The Nature and Scope of the Activity the Government Sought to Punish and
               the Goal of the Conspirators.

        While again as previously discussed, the activities of Dr. Jase and Sandra Thompson are

of the same nature, the goal and the scope of the activities are different. The goal and scope of

each conspiracy was to enrich a DME provider who then payed from those proceeds its co-

conspirators–the doctor who provided the fraudulent prescription and the recruiter who provided

the Medicare patient number. Thus, the central organizing figure in these two cases are

different–Lobdale in the Middle District case and Psalms in the instant one. As such, the goal and

scope of each were different indicating these were separate conspiracies.



       5.      Place Where the Events Alleged as Part of the Conspiracies Occurred.

       While both DME providers were in Louisiana, Lobdale was centered in Baton Rouge and

Psalm 23 was centered in New Orleans. The Lobdale indictment indicates that the crimes were

committed "in the Middle District and elsewhere" and the Brown indictment indicates that the

crimes were committed in New Orleans and elsewhere. However, Thompson maintains that she

solicited Medicare beneficiaries in New Orleans, Louisiana and Dr. Jase falsified their records

supporting the beneficiaries' entitlement to DMEs in New Orleans. As such, Thompson contends

that the events as to the Lobdale conspiracy and the Brown conspiracy occurred in the same

place. However, as the central target of each conspiracy was located in a different district, this

factor militates against finding a single conspiracy.




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       Conclusion

       Based on the foregoing, while the time period and the statutory charges brought are the

practically the same, the other three factors–persons acting as co-conspirators, the goals and the

scope and the places where the events alleged as part of the conspiracy took place–are different.

As such, the Court finds that the Lobdale and Brown prosecutions are two separate conspiracies,

and thus the Motion to Dismiss the Indictment on Grounds of Double Jeopardy must be denied.

However, the analysis does not end there.

       In Abney v. United States, 431 U.S. 651 (1977), the Supreme Court held that the denial of

a motion to dismiss an indictment on the basis of double jeopardy results in an appealable final

order. However, in a footnote the Court recognized that such a holding might encourage some

defendants to engage in dilatory appeals." Id. at 662 n.8 (emphasis added); United States v.

Angleton, 221 F. Supp.2d 696, 734 (2002). As determined in United States v. Dunbar, 611 F.2d

985 (5th Cir.), cert. denied, 447 U.S. 926 (1980), if a trial court finds that an appeal from a pretrial

double jeopardy motion is frivolous, it is not divested of jurisdiction. United States v. Kalish, 690

F.2d 1144, (5th Cir. 1982) citing Dunbar at 986. Thus, the next inquiry is whether this motion

was frivolous.

       As one district court stated:

               The Fifth Circuit has instructed that courts should apply the literal meaning
       of the term "frivolous" when determining whether to stay the case pending
       interlocutory appeal, bearing in mind that the frivolousness inquiry is intended to
       prevent dilatory claims, not colorable ones. See United States v. Kalish, 690 F.2d
       1144, 1154 (5th Cir. 1982); see also Angleton, 221 F. Supp.2d at 736-37.


United States v. Bayly, 2008 WL 89624, *7 (S.D. Tex. Jan. 7, 2008).In Dunbar, the court found

the motion to be frivolous because it was based on a purely legal argument which was foreclosed

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by numerous decision of both the Supreme Court and the Fifth Circuit. United State v. Gutierrez-

Alvarez, 2014 WL 2481873 (S.D. Tex. June 3, 2014). However, if the claim is colorable, it

cannot be said to be frivolous. "A colorable claim 'presupposes that there is some possible

validity to a claim.' [Richardson v. United States, 468 U.S. 317,] 326 n. 6. A claim is not

colorable if 'no set of facts will support the assertion of the petitions's claim of double jeopardy.'"

United States v. Shelby, 604 F.3d 881 (5th Cir. 2010).

       Because of the characterization made by the United States of Thompson having been the

lynchpin of both schemes by virtue of her control over the determination of which DME provider

would provide the equipment, Thompson's argument as to there being one conspiracy and thus

double jeopardy attaching is not frivolous. By virtue of the factual characterization made to

underpin the Government's contention that evidence of the Lobdale conspiracy was intrinsic in

nature and thus not subject to a Rule 404(b) analysis, the Government opened the door to

Thompson's argument and provided a non-frivolous basis for this motion to have been brought.

Accordingly,

       IT IS ORDERED that Sandra Thompson's Motion to Dismiss Indictment on Grounds of

Double Jeopardy (Rec. Doc. 105) is DENIED.

       New Orleans, Louisiana, this 20th day of April, 2016.




                                                           STANWOOD R. DUVAL, JR.
                                                 UNITED STATES DISTRICT COURT JUDGE




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